         CASE 0:22-cr-00088-JNE-LIB Doc. 42 Filed 05/24/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 22-088 (JNE/LIB)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                      ORDER OF DETENTION
       v.

 2. EVAN ANDREW LAUTIGAR,

                     Defendant.


      This matter came before the Court on May 24, 2022, for an initial appearance

and an arraignment. All parties appeared by Zoom. The defendant was present and

represented by his attorney Craig Cascarano. The United States was represented by

Assistant United States Attorney Sarah Hudleston.

      Defendant Evan Andrew Lautigar is charged by Indictment with Conspiracy to

Distribute Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and

846, and Possession With Intent To Distribute Methamphetamine in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(A). Under 18 U.S.C. § 3142(e)(3)(A), it is presumed,

subject to rebuttal, that there is no condition or combination of conditions that will

reasonably assure Mr. Lautigar’s appearance as required at future proceedings or the

safety of the community.

      Mr. Lautigar waived the detention hearing. Based on Mr. Lautigar’s waiver, the

Court finds that there is no condition or combination of conditions that will reasonably
            CASE 0:22-cr-00088-JNE-LIB Doc. 42 Filed 05/24/22 Page 2 of 2




assure the safety of the community and Mr. Lautigar’s presence at future proceedings

in this matter.

Accordingly,

       IT IS HEREBY ORDERED that:

       1.      The motion of the United States for detention of Mr. Lautigar is granted;

       2.      Mr. Lautigar is committed to the custody of the United States Marshal

Service for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal;

       3.      Mr. Lautigar shall be afforded reasonable opportunity to consult

privately with his lawyer; and

       4.      Upon Order of the Court or request by the United States Attorney, the

person in charge of the corrections facility in which Mr. Lautigar is confined shall

deliver him to the United States Marshal for the purpose of appearance in connection

with a court proceeding.


Dated: May 24, 2022                       s/Jon T. Huseby
                                          Jon T. Huseby
                                          United States Magistrate Judge




                                            2
